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pla         Howard M Ehrenberg
md          Jonathan L Flaxer, Esq
                                                                                                                 TOTAL: 4

Recipients of Notice of Electronic Filing:
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aty         Eugene Ronald Scheiman             eugene.scheiman@scheimanlaw.com
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aty         Jeffrey P Nolan         jnolan@pszjlaw.com
aty         Jonathan L Flaxer          jflaxer@golenbock.com
aty         Paris Gyparakis         pgyparakis@pbnlaw.com
aty         Sanford P Rosen          srosen@rosenpc.com
                                                                                                                 TOTAL: 7

Recipients submitted to the BNC (Bankruptcy Noticing Center):
aty         Jeffrey Norlan       Pachulski Stang Ziehl & Jones LLP      780 Third Avenue         34th Floor    New York,
            NY 10017
ust         United States Trustee      Long Island Federal Courthouse      560 Federal Plaza − Room 560       Central Islip,
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